     Case 6:14-cr-06038-EAW-JWF Document 117 Filed 09/03/15 Page 1 of 2



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                                 14-CR-6038 JWF
                     -vs-

ALEXANDER GREEN,

                            Defendant.



                       GOVERNMENT=S MOTION TO REVOKE
                         DEFENDANT=S RELEASE ORDER

       The United States of America, by and through its attorney, William J. Hochul, Jr.,

United States Attorney for the Western District of New York, Douglas E. Gregory, Assistant

United States Attorney, of counsel, pursuant to 18 U.S.C. ''3143, 3145 and 3148, moves the

Court to revoke defendant Alexander Green=s conditional release order, and to order that the

defendant be detained pending trial.     The grounds for this motion are set forth more

particularly in the Amended Noncompliance Summary prepared by the United States

Probation Department on August 26, 2015 and provided to the Court by United States

Probation Officer Jillian M. Trahms.


       The government submits that there is probable cause to believe that the defendant has

committed a Federal, State or local crime while on release, specifically, Criminal Possession

of a Controlled Substance in the Seventh Degree and Aggravated Unlicensed Operation of a

Motor Vehicle stemming from his arrest on those charges by Pen Yann Police Department on

August 22, 2015. Further, there is clear and convincing evidence that the defendant violated

conditions of his release, including, but not limited to, the fact that the defendant remained

outside of the Northern District of California without permission of his pretrial officer.
     Case 6:14-cr-06038-EAW-JWF Document 117 Filed 09/03/15 Page 2 of 2



Specifically, the defendant was given permission to travel outside of the Northern District of

California to attend his court appearance in the Western District of New York between the

dates of August 17, 2015 and August 21, 2015. On August 22, 2015, the defendant was still

in the Western District of New York and at no time did the defendant request an extension of

travel from his pretrial officer. This is all in direct violation of this Court=s order setting

conditions of release dated April 22, 2014.


       Therefore, because there is probable cause to believe that the defendant has committed

a Federal, State, or local crime while on release, and there is clear and convincing evidence to

believe that the defendant has violated conditions of his release, and there are no conditions

of release which would assure that the defendant will not flee or pose a danger to any other

person or the community, and because the defendant is unlikely to abide by any conditions of

release, the government respectfully requests that the Court revoke the defendant=s

conditional release order, and order that the defendant be detained pending sentencing.

Dated: Rochester, New York, September 3, 2015.

                                                    Respectfully submitted,

                                                    WILLIAM J. HOCHUL, JR.
                                                    United States Attorney

                                              By:   s/Douglas E. Gregory
                                                    DOUGLAS E. GREGORY
                                                    Assistant U.S. Attorney
                                                    United States Attorney’s Office
                                                    100 State Street, Room 500
                                                    Rochester, New York 14614
                                                    (585) 399-3938




                                                2
